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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA


              v.                                   CRIMINAL NO. 03-800

TABARI MALIK ZAHIR
USM#57891-066

                                            ORDER


       ANDNOWthis         /{t>'i:IJ..   dayof   ~                  , 2015, pursuant to 18

U.S.C. § 3582(c)(2) and Amendment 782 to the Sentencing Guidelines, and by agreement of the

parties, it is hereby ORDERED that the term of imprisonment in this case is reduced to 168

months, effective November 1, 2015.



                                                   BY THE COURT:




                                                   Senior United State
